ADR Form 1 (12/201J)
                                       UNITED STATES BANKRUPTCY COURT
                                                Western District of Washington

In Re :

Casey R. Ingels,

                    Debtor(s).

                                                         Case Number: 14-10421-MLB

                                                         Adversary Case Number: 14-01387-MLB


John S. Peterson, as Bankruptcy Trustee,

                   Plaintiff(s),

v.

Casey R. Ingels,

                   Defendant(s).


                                              MEDIATION CERTIFICATION


Pursuant to Local Bankruptcy Rule 9040- 3, each of the undersigned certifies that he or she has read the Honorable
Thomas T. Glover Mediation Program Instructions for Parties, discussed the available dispute resolution options provided
by the Court, reviewed dispute resolution options offered by private entities, and considered whether this matter might
benefit any of them.                                                               A____
Dated:       /   0fJ- y,/1 L(                                                1) -://
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                                                         Signature ofR     ntiff/Cross Plaintiffi'
                                                         Printed Name.         Go>-." .5.      I !AU     J   0 ........



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Dated: _ _       O_/d_Y_II_i_
                                                         Signature of unsel for Plainti       ICro:,,;; Plaintiff
                                                         Printed Name:      ]" () """' '\   .f. LJ e.r v .......
                                                                                                             j



Dated: _____ _ _ _ _ _
                                                         Signature of Defendant/Cross Defendant
                                                         Printed Name:

Dated: _ __ _ _ _ _ __
                                                         Signature of Counsel for Defendant/Cross Defendant
                                                         Printed Name:
                                                                         -------------------------------------
NOTE: This Certification shall be served by the plaintiff on all defendants and must be signed by each party and its
counsel. If there is more than one plaintiff, the plaintiff listed first in the caption of the adversary proceeding shall also
serve this Certification on all other plaintiffs. If there are additional parties (e.g., additional plaintiffs, dtfendants, cross
plaintiffs, or cross defendants), additional sheets should be filed.

The completed Certification must be filed with the court electronically or by mailing a paper copy to the Clerk ofthe
Bankruptcy Court, 700 Stewart St., Room 6301, Seattle, WA 98101.


           Case14-01387-CMA
          Case  14-01387-MLB           Doc 5
                                       Doc 2      Filed 10/24/14 Ent.
                                                  Filed 10103/14      10/24/14 10:10:02 Pg.
                                                                 Ent.10103/1415:08:25    Pg.31ofof3 1
